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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

RAVAGO AMERICAS LLC,

       Plaintiff,
                                                   CASE NO. __________________________

v.

KIRT DMYTRUK,

      Defendant.                                   DECEMBER 13, 2018
______________________________________

                                        COMPLAINT

       Plaintiff Ravago Americas LLC (“Ravago”) brings this action against Defendant Kirt

Dmytruk (“Dmytruk”) under Connecticut law, the Defend Trade Secrets Act, and Florida law.

Dmytruk is a former Ravago employee who recently left Ravago to launch a start-up division of

a direct competitor; that start-up division now competes directly with Ravago’s resale business.

Before leaving Ravago, Dmytruk violated his duties to Ravago by providing confidential

information and trade secret information to his new employer. Dmytruk also lied to Ravago

about his computer files and information, deleting over five years of Ravago information from

his then Ravago computer. Now, with his new employer, Dmytruk is continuing to

misappropriate Ravago’s confidential information and trade secrets, and is violating his

contractual obligations to Ravago, which are governed under Connecticut law. Thus, Ravago

seeks injunctive relief precluding Dmytruk from using the confidential and trade secret

information he misappropriated, and compensatory, exemplary and punitive damages as may be

allowed by law.
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                                         PARTIES

Plaintiff Ravago

1.    Ravago is a Delaware limited liability company with its headquarters at 1900

      Summit Tower Boulevard, Suite 900, Orlando, Florida 32810.

2.    Ravago distributes, resells, and compounds a wide range of plastic and rubber

      materials purchased from its suppliers, ranging from high performance, engineered

      resins to recycled, post-consumer materials.

3.    Ravago operates resale, distribution, manufacturing, and logistics businesses through

      various divisions.

4.    One of those divisions is Muehlstein, which is a reseller and distributor of resin

      products. Muehlstein became a division of Ravago when Ravago acquired

      Muehlstein in 2006.

5.    Ravago’s business, particularly its Muehlstein business, involves high volumes and

      narrow profit margins, and product availability, pricing and personal relationships

      are very important to its overall success.

6.    Ravago is a privately held company. Ravago does not share its financial information

      and other business information with the public.

7.    Ravago has offices in Connecticut.

Defendant Dmytruk

8.    Dmytruk joined Muehlstein in 2003 as a member of its sales team. Dymtruk became

      employed by Ravago upon its acquisition of Muehlstein. Prior to joining Muehlstein,

      Dmytruk worked in a non-commercial role as a Co-op Process Chemical Engineer.

9.    On May 15, 2006, Dmytruk executed a Non-Solicitation and Confidentiality

      Agreement (“Agreement”) for Muehlstein. The Agreement is governed by

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      Connecticut law. The Agreement contains an exclusive forum selection clause

      placing jurisdiction in the state or federal courts of Connecticut.

10.   A true and correct copy of Dmytruk’s Agreement is attached hereto and incorporated

      herein as Exhibit A.

11.   In 2013, Dmytruk became the Business Manager of a Ravago distribution division.

12.   As Business Manager of the distribution division, Dmytruk was responsible for

      maintaining and developing relationships with the division’s polypropylene supply

      partners, and overall commercial management of the polypropylene business,

      including product strategy, pricing, inventory management, and sales to customers.

13.   On March 28, 2018, Dmytruk was promoted to become an officer of Ravago,

      specifically Vice President of Ravago Manufactured Products. As the Vice President

      of Ravago Manufactured Products, Dmytruk had access to confidential information

      and trade secrets used within the various Ravago divisions, including resale and

      distribution. Dmytruk had access to all aspects of the Ravago business by virtue of

      this new position.

14.   On August 7, 2018, Dmytruk resigned from Ravago.

15.   In or about July 2012, Ravago issued Dmytruk a MacBook computer and a “LaCie”

      brand hard drive.

16.   Before returning his computer to Ravago on August 9, 2018, Dmytruk erased

      approximately five years’ worth of business communications and other confidential

      information by restoring the computer to a prior backup point. Dmytruk had backed

      up his computer at least 33 times since 2012 to the LaCie hard drive. The last time

      Dmytruk backed up his computer was the day before he resigned.



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17.   At the time of and following his resignation, Dmytruk did not return any hard drives

      to Ravago. Dmytruk did not return a LaCie hard drive to Ravago.

18.   By taking the LaCie hard drive, to which he had backed up his work computer on

      August 6, 2018, Dmytruk was able to take all of the confidential information

      regarding Ravago’s business on his computer as of the date of each of the backup

      points, including but not limited to his e-mails, presentations, financial information,

      employee information, customer information, and supplier information.

19.   Ravago issued Dmytruk a company cellphone while he was employed by Ravago.

      Before returning his company cellphone to Ravago, Dmytruk deleted text messages

      and, upon information and belief, other company-related information.

20.   After resigning from Ravago, Dmytruk remains subject to a duty not to use trade

      secrets, or other confidential information, which he has acquired in the course of his

      employment, for his own benefit or that of a competitor to the detriment of Ravago.

21.   On August 12, 2018, Vinmar International, Ltd. (“Vinmar”), a direct competitor of

      Ravago, announced that it hired Dmytruk to lead its new polymer division, Vinmar

      Polymers America, LLC (“VPA”). Dmytruk joined VPA on August 14, 2018. Prior

      to Vinmar hiring Dmytruk, Dmytruk’s only commercial-related experience in the

      plastics industry was with Ravago.

22.   VPA was formed as a Texas Limited Liability Company on or about July 10, 2018.

23.   Dmytruk currently is employed as a President of VPA.

24.   Dmytruk works for VPA in Texas.

25.   Dmytruk lives in his home in Spring, Texas, with his wife and children.




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                               OTHER KEY PLAYERS

26.   Hermant Goradia (“H. Goradia”) is Vinmar’s President.

27.   H. Goradia is a manager of VPA.

28.   Dmytruk and H. Goradia had multiple communications with one another while

      Dmytruk was an officer of Ravago, during work hours, and using the Ravago-issued

      mobile telephone to Dmytruk.

29.   Vishal Goradia (“V. Goradia”) is Vinmar’s Senior Vice President. As Senior Vice

      President for Vinmar, V. Goradia has responsibility for Plastics, Plastics Supply

      Chain, and Specialty Chemicals distribution for Vinmar.

30.   V. Goradia is a manager of VPA.

31.   Dmytruk and V. Goradia had multiple communications with one another while

      Dmytruk was an officer of Ravago, during work hours, and using the Ravago-issued

      mobile telephone.

32.   Kevin Page is Vice President of Vinmar. In his capacity as Vice President of Vinmar,

      Page engaged in multiple communications with Ravago employees, including

      Dmytruk, before August 2018.

33.   Tom Cassel is a Director at Vinmar.

34.   In his capacity as a Director for Vinmar, since September 2018, Cassel has attempted

      to recruit multiple Ravago employees to work for Vinmar or VPA. Upon information

      and belief, Cassel obtained the information to recruit these individuals from

      Dmytruk.

35.   Jeff Siebenaller is a former employee of Ravago.




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36.   Siebenaller and Dmytruk had frequent communications, both while employed by

      Ravago and in relationship to Siebenaller and Dmytruk joining VPA.

37.   After Siebenaller left Ravago, he joined VPA as a consultant, commencing on

      September 4, 2018. Upon information and belief, Siebenaller reports to Dmytruk

      now.

38.   John Ward is a former employee of Ravago in its Muehlstein division. He resigned

      from Ravago on September 14, 2018. Prior to resigning from Ravago, Ward erased

      the entirety of his Ravago-issued computer.

39.   In the several weeks before Dmytruk announced he was resigning, Ward and

      Dmytruk spoke multiple times for hundreds of minutes of calls.

40.   After leaving Ravago, as of September 17, 2018, Ward joined VPA as Business

      Director, Polypropylene & Polyethylene Durables. Upon information and belief,

      Ward reports to Dmytruk now.

41.   Daniel Peretz is a former employee of Ravago Canada Co.

42.   Ravago Canada Co. is an affiliate of the plaintiff here.

43.   On October 9, 2018, Peretz gave notice of his resignation from Ravago. He informed

      management that he was going to work for the Vinmar Group. While at Ravago,

      Peretz worked closely with Dmytruk and Ward, his former boss.

44.   Upon his departure, Peretz took 80 confidential Ravago files. Litigation is ongoing in

      Canada as a result.

45.   Peretz uploaded Ravago confidential information to an unauthorized iCloud account.

46.   Following his joining Vinmar, Peretz contacted Plaintiff’s employees, soliciting

      them for employment for VPA, including a recent solicitation to a West Coast



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      salesperson based in the United States. Upon information and belief, Peretz

      coordinated this solicitation for employees with Dmytruk.

                               JURISDICTION AND VENUE

47.   This Court has federal question jurisdiction over this matter, pursuant to 28 U.S.C.

      § 1331, because Ravago asserts claims against Dmytruk under the Defense Trade

      Secrets Act of 2016, 18 U.S.C. § 1836(c), and the Computer Fraud and Abuse Act,

      18 U.S.C. § 1030.

48.   This Court has supplemental jurisdiction over Ravago’s remaining state law claims,

      pursuant to 28 U.S.C. § 1367.

49.   This Court has diversity jurisdiction over this matter, pursuant to 28 U.S.C.

      § 1332(a), because the matter in controversy exceeds the sum or value of $75,000,

      exclusive of interest and costs, and is between citizens of different states. Ravago is

      a citizen of Delaware and Florida under 28 U.S.C. § 1332(c). Dmytruk is a citizen of

      Texas.

50.   Dmytruk’s Agreement provides for exclusive jurisdiction in the state or federal

      courts in Connecticut.

51.   The Agreement states as follows:

      The parties agree that this Agreement is to be governed by and construed under
      Connecticut law and further agree that any claims or causes of action which arise
      out of this Agreement shall be instituted and litigated only in a court of competent
      jurisdiction located within the State of Connecticut. The Employee hereby
      consents to the jurisdiction of the state and federal courts located in the State of
      Connecticut for the resolution of any dispute regarding or arising out of this
      Agreement.

      (Ex. A § 17.)

52.   Ravago asserts claims against Dmytruk regarding or arising out of the Agreement.



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53.   This is a court of competent jurisdiction located within the State of Connecticut.

54.   Ravago’s claims include breach of contract by virtue of misappropriating

      confidential information and trade secrets, as well as statutory claims for

      misappropriation of trade secrets and tort claims for breach of fiduciary duty arising

      out of or related to Dymtruk’s employment.

55.   Venue is proper in this district, pursuant to 28 U.S.C. § 1391(b)(2), because Dmytruk

      is subject to the personal jurisdiction of this Court. Dmytruk also agreed to venue in

      this jurisdiction.

                                           FACTS

Dmytruk’s Agreement

56.   Dmytruk’s Agreement is an enforceable contract between him and “Muehlstein

      Administrative Services LLC, its successors and any of its current or future

      divisions, subsidiaries, affiliates or related organizations.” (Ex. A at 1.)

57.   Dmytruk specifically agreed as follows:

      SUCCESSORS
      This Agreement shall be binding upon and inure to the benefit of Muehlstein and
      its successors and assigns, and the Employee, his/her heirs, executors and
      administrators. Muehlstein shall have the right to assign this Agreement to a
      successor to all or substantially all of the business or assets of Muehlstein or any
      division or part of Muehlstein with which employee is employed at any time.

      (Ex. A § 14.)

58.   Dmytruk is bound by the Agreement.

59.   Ravago is entitled to enforce the Agreement against Dmytruk. The Agreement was

      assigned to Ravago when it acquired Muehlstein, pursuant to Section 14 of the

      Agreement expressly authorizing the same. Dmytruk’s Agreement is enforceable by




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      Ravago as a successor to Muehlstein Administrative Services LLC. Muehlstein

      currently operates as a division of Ravago.

60.   In the Agreement, Dmytruk agreed that Ravago, as successor to Muehlstein, is

      “engaged in the highly competitive business of distributing plastic and rubber raw

      materials and compounds.” (Ex. A § 1.)

61.   In the Agreement, Dmytruk agreed that Ravago, as successor to Muehlstein,

      expended “substantial amounts of money and the use of skills developed over a long

      period of time.” (Ex. A. § 1.)

62.   In the Agreement, Dmytruk agreed that Ravago, as successor to Muehlstein, “has

      developed and will continue to develop certain valuable trade secrets, confidential

      information and inventions that are peculiar to [its] business and the disclosure of

      which would cause [Ravago, as successor to Muehlstein,] great and irreparable harm.

      (Ex. A. § 1.)

63.   Ravago operates in a highly competitive market with narrow profit margins.

64.   Both pricing and personal relationships are very important to Ravago.

65.   Dmytruk is a former employee who has specialized knowledge of Ravago’s internal

      strategy, pricing structure and supplier and customer relations.

66.   The restrictions in the Agreement are reasonably tailored to protect Ravago’s

      business from a defalcating employee.

67.   The restrictions in the Agreement are reasonable as to Dmytruk, who was an officer

      of Ravago.

68.   The   Agreement     differentiates   between   “Trade   Secrets”   and   “Confidential

      Information.”



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69.   The Agreement defines “Trade Secrets” as “any scientific or technical information,

      design, process, procedure, formula or improvement that is valuable and not

      generally known to [Ravago’s] competitors. To the fullest extent consistent with the

      foregoing, Trade Secrets shall include, without limitation, all information and

      documentation, whether or not patented, copyrighted or trademarked, pertaining to

      the design, specifications, capacity, testing, installation, implementation and

      customizing techniques and procedures concerning [Ravago’s] products and

      services.” (Ex. A § 1(a).)

70.   The Agreement defines “Confidential Information” as follows:

      (b)    The term “Confidential Information” means any data or information and
      documentation, other than Trade Secrets, which is valuable to [Ravago] and not
      generally known to the public, including but not limited to:
             i)      Product information, including but not limited to designs,
             specifications, modifications, advancements and discoveries;
             ii)     Financial information, including but not limited to
             earnings, assets, debts, prices, fee structures, volumes of purchases
             or sales, or other financial data, whether relating to [Ravago]
             generally, or to particular products, services, geographic areas, or
             time periods;
             iii)    Supply and service information, including but not limited
             to information concerning the goods and services used or
             purchased by [Ravago], the names and addresses of suppliers,
             terms of supplier service contracts, or of particular transactions, or
             related information about potential suppliers, to the extent that
             such information is not generally known to the public, and to the
             extent that the combination of suppliers or use of particular
             suppliers, though generally known or available, yields advantages
             to [Ravago] the details of which are not generally known;
              iv)    Marketing information, including but not limited to
             details about ongoing or proposed marketing programs or
             agreements by or on behalf of [Ravago], marketing forecasts,
             results of marketing efforts or information about impending
             transactions;
             v)      Personnel information, including but not limited to
             employees’ personal or medical histories, compensation or other
             terms of employment, actual or proposed promotions, hiring,
             resignations, disciplinary actions, terminations or reasons

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             therefore, training methods, performance or other employee
             information;
             vi)     Customer information, including but not limited to any
             compilations of past, existing or prospective customers, customer
             proposals or agreements between customers and [Ravago], status
             of customer accounts or credit, or related information about actual
             or prospective customers; and
             vii)    Business information, including but not limited to
             business plans, minutes of board meetings, financial reports,
             strategic plans, operations manuals and best practices memoranda.

             (Ex. A § 1(b) (emphasis added).)

71.   Dmytruk agreed that he would not,

      while employed by [Ravago] and for so long thereafter as the pertinent
      information or documentation remains a Trade Secret, directly or indirectly use,
      disclose or disseminate to any other person, organization or entity or otherwise
      employ any Trade Secret. The Employee further agrees, except as specifically
      required in the performance of his/her duties for [Ravago], that he/she will not,
      while employed by [Ravago] and for two (2) years after his/her employment has
      ceased, disclose or disseminate to any other person, organization or entity or
      otherwise employ any Confidential Information. Nothing in this paragraph shall
      preclude the employee from disclosing or using Trade Secrets or Confidential
      Information if (a) the Trade Secrets or Confidential Information have become
      generally known, at the time the Trade Secrets or Confidential Information are
      used or disclosed, to the public or to competitors of [Ravago] through no act or
      omission of the Employee or (b) the disclosure of the trade secrets or confidential
      information is required to be made by any law, regulation, governmental body or
      authority, or court order.

      (Ex. A § 3.)

72.   Dmytruk also agreed that he would return all company property, specifically:

      The Employee agrees that he/she will deliver to [Ravago] upon the conclusion of
      his/her employment, and at any other time upon [Ravago’s] request, all
      memoranda, notes, records, computers, computer programs, computer files,
      computer disks, drawings or other documentation, and all copies thereof, in
      his/her possession, custody or control, whether made or compiled by the
      Employee alone or with others or made available to him/her while employed by
      [Ravago]. The Employee further agrees to sign a statement verifying that he/she
      has returned all such property.

      (Ex. A § 4.)



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73.   Dmytruk agreed to devote his efforts to working for Ravago. The Agreement

      provided:

      The Employee agrees to devote his/her best efforts to the services of [Ravago] in
      such capacity as [Ravago] from time to time shall direct. The Employee further
      agrees that while employed by [Ravago] he/she will not have any direct or
      indirect financial interest in any entity reasonably deemed to compete with
      [Ravago] with the exception of shares in publicly-traded companies.

      (Ex. A § 6.)

74.   Dmytruk agreed not to solicit Ravago customers and suppliers:

      NON-SOLICITATION OF CUSTOMERS & SUPPLIERS
      (a)    The Employee agrees that while employed by [Ravago], he/she will
      become intertwined with [Ravago]’s goodwill by having contact with and
      becoming aware of some, most or all of [Ravago]’s customers, representatives of
      those customers, suppliers, representatives of those suppliers, their names and
      addresses, specific customer and supplier needs and requirements, and leads and
      references to prospective customers. The Employee will also become privy to
      [Ravago]’s trade secrets and confidential information. The Employee further
      agrees that loss of such goodwill, trade secrets, confidential information,
      customers and/or suppliers will cause [Ravago] great and irreparable harm.

      (b)     The Employee agrees that for eighteen (18) months after the conclusion of
      his/her employment he/she will not directly or indirectly solicit, contact, call
      upon, communicate with or attempt to communicate with any customer, former
      customer, prospective customer, supplier, former supplier or prospective supplier
      of [Ravago] for the purpose of providing or obtaining any product or service
      reasonably deemed competitive with any product or service then offered by
      [Ravago]. This restriction shall apply only to:
              i)      any customer, former customer, prospective customer,
              supplier, former supplier or prospective supplier of [Ravago] with
              whom the Employee had contact during the last twelve months of
              his/her employment with [Ravago], or
              ii)     any customer, former customer, prospective customer,
              supplier, former supplier or prospective supplier of [Ravago] for
              which the Employee has obtained confidential information, as
              defined by this Agreement, during the last twelve months of
              his/her employment with [Ravago].

      For the purposes of this paragraph, “contact” means interaction between the
      Employee and the customer, former customer, prospective customer, supplier,
      former supplier or prospective supplier which takes place to further the business
      relationship, or performing services for the customer, former customer,

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      prospective customer, supplier, former supplier or prospective supplier on behalf
      of [Ravago].

      (Ex. A § 7.)

75.   Dmytruk agreed not to solicit Ravago employees:

      NON-SOLICITATION OF EMPLOYEES
      The Employee agrees that while employed by Muehlstein and for eighteen (18) months
      after the conclusion of his/her employment he/she will not directly or indirectly recruit,
      hire or attempt to recruit or hire any other employee of Muehlstein with whom the
      Employee had contact during his/her employment with Muehlstein. For the purposes of
      this paragraph, “contact” means any interaction whatsoever between the Employee and
      the other employee.

      (Ex. A § 8.)

Pre-resignation Communications Between Dmytruk and Vinmar

76.   Beginning in at least 2017, Siebenaller and Dmytruk began corresponding through

      e-mail and telephone with H. Goradia, V. Goradia, and Page to set up a meeting

      between Siebenaller, Dmytruk and these Vinmar representatives in Houston.

77.   A true and correct copy of an e-mail chain coordinating this meeting between

      Siebenaller, Dmytruk, H. Goradia, V. Goradia, and Page are attached hereto and

      incorporated herein as Exhibit B. There was no Ravago-related business reason for

      this meeting.

78.   In 2017 and prior to September 24, 2018, H. Goradia’s mobile telephone number was

      832-875-3501.

79.   In 2017 and prior to August 7, 2018, Dmytruk’s mobile telephone number was 770-

      331-1835. During his employment with Ravago, Dmytruk used this mobile telephone

      number on behalf of Ravago and Ravago paid the costs of this phone.




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80.   In 2017 and prior to September 7, 2018, Siebenaller’s mobile telephone number was

      904-583-7757. During his employment with Ravago, Siebenaller used this mobile

      telephone number on behalf of Ravago and Ravago paid the costs of this phone.

81.   Dmytruk called H. Goradia twice in October 2017.

82.   Dmytruk called H. Goradia from 770-331-1835 seven times in 2018 (while still

      employed with Ravago), for a total number of 163 minutes of phone conversations.

83.   There was no legitimate Ravago-related business reason for Dmytruk to have these

      telephone conversations with H. Goradia.

84.   Vinmar’s main office telephone number is 281-618-1340.

85.   Dmytruk called Vinmar’s main office from 770-331-1835 twice in 2018, once in

      May and once in June; both calls were placed while Dmytruk still worked for

      Ravago.

86.   True and correct logs of telephone calls among the telephone numbers identified in

      Paragraphs 79, 82, and 85 above are attached as Exhibit C and incorporated herein.

87.   On September 20, 2017, Dmytruk and Siebenaller each flew to Houston, Texas, to

      meet with H. Goradia.

88.   On September 21, 2017, Dmytruk, Siebenaller, and H. Goradia met at Vinmar’s

      headquarters and a restaurant called Via Emilia.

89.   On November 20 and 21, 2017, Siebenaller and Dmytruk exchanged e-mails

      discussing H. Goradia. In the e-mail exchange, Dmytruk told Siebenaller that H.

      Goradia wanted to meet with Dmytruk in December of that year. Siebenaller asked

      Dmytruk if he was still in discussions with H. Goradia, “OTR [off the record] of

      course.”



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90.   A true and correct copy of the November 20-21 e-mail exchange between Siebenaller

      and Dmytruk is attached hereto and incorporated herein as Exhibit D.

91.   On or before December 7, 2017, Dmytruk received an offer from the Vinmar Group.

92.   On February 25, 2018, someone using Dmytruk’s mobile number called H. Goradia’s

      mobile number. Upon information and belief, Dmytruk called H. Goradia.

93.   That same evening at 8:40 P.M. Eastern Time, someone using H. Goradia’s mobile

      number called Dmytruk’s mobile number. Upon information and belief, H. Goradia

      returned Dmytruk’s call. This telephone call lasted 24 minutes.

94.   On March 28, 2018, Dmytruk flew from Florida to Houston and stayed at a hotel

      located near Vinmar’s headquarters.

95.   A true and correct copy of Dmytruk’s hotel bill from that stay is attached hereto and

      incorporated herein as Exhibit E.

96.   On March 28, 2018, Dmytruk accepted a promotion from Ravago to become the Vice

      President of RMA, effective May 1, 2018.

97.   After accepting the promotion, Dmytruk continued to communicate with H. Goradia,

      and, upon information and belief, others from Vinmar. There was no Ravago-related

      business reason for Dmytruk to do so.

98.   After accepting the promotion at Ravago, Dmytruk also continued to communicate

      with Ravago suppliers and customers even though he had no Ravago-related business

      reason to do so.

99.   On April 4, 2018, H. Goradia e-mailed Siebenaller to tell him that retirement was

      outdated. Siebenaller responded that “perhaps the spelling is re-hiremont.”

      Siebenaller forwarded a copy of this e-mail to Dmytruk.



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100.   A true and correct copy of the e-mail from Siebenaller to Dmytruk is attached hereto

       and incorporated herein as Exhibit F.

June 2018 Ravago Board Meeting and Subsequent Call between Vinmar and Dmytruk

101.   On June 19 and 20, 2018, Dmytruk attended Ravago’s annual board and business

       strategy meeting (“Board Meeting”).

102.   Attendees to the Board Meeting included Ravago executives, including the Chief

       Executive Officer, Jim Duffy, as well as affiliate company officers from Europe.

103.   During the Board Meeting, the attendees discussed highly confidential trade secrets

       and other proprietary business information. The meeting included a PowerPoint

       presentation that conveyed information regarding revenue, sales, customers, business

       planning, and financing strategies (“Board Meeting PowerPoint Presentation”).

104.   The person presenting the Board Meeting PowerPoint Presentation during the Board

       Meeting told attendees that a copy of the Board Meeting PowerPoint Presentation

       would be sent to the attendees.

105.   During the Board Meeting, attendees saw Dmytruk taking pictures of the Board

       Meeting PowerPoint Presentation on his mobile phone.

106.   At 5 P.M. on June 20, 2018, after the Board Meeting ended, someone called

       Dmytruk’s mobile number from 281-618-1374 (“June 20 Call”). Upon information

       and belief, 281-618-1374 is a telephone number assigned to Vinmar. Upon

       information and belief, the June 20 Call was between H. Goradia and Dmytruk. The

       June 20 Call lasted 85 minutes. There was no Ravago-related business reason for

       Dmytruk to conduct this call.




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107.   Following the board meeting, Dmytruk conducted several internet searches to learn

       how to erase documents from his Ravago-issued MacBook computer and Ravago-

       issued iPhone.

108.   In the weeks that followed, Dmytruk became very elusive and stopped performing

       his Vice President duties.     Dmytruk failed to return telephone calls and missed

       important meetings with all levels of personnel, including a [meeting/call] scheduled

       for [date] with Ravago’s Chief Executive Officer.

109.   In 2018, Ward’s mobile telephone number was 330-283-3215. During his

       employment with Ravago, Ward used this mobile telephone number on behalf of

       Ravago.

110.   Dmytruk spoke with Ward multiple times in the weeks prior to his resignation from

       Ravago. Between June 8, 2018, and July 23, 2018, the telephone numbers assigned to

       Dmytruk and Ward shared 480 minutes of connectivity. Upon information and belief,

       Dmytruk and Ward were using the telephones to communicate. Upon information

       and belief, Dmytruk and Ward communicated during this time through means other

       than mobile telephone conversations, including text messages and e-mail.

111.   A true and correct log of telephone calls between Dmytruk’s and Ward’s assigned

       telephone numbers between June 8, 2018 and July 23, 2018 is attached hereto and

       incorporated herein as Exhibit G.

112.   There     was    no   legitimate   Ravago-related   business   reason   for   extensive

       communications between Dmytruk and Ward between June 8, 2018 and July 23,

       2018. Upon information and belief, Ward had no prior contact with Vinmar, and

       Dmytruk was soliciting and recruiting Ward to join Vinmar.



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113.   On July 13, 2018, Siebenaller “retired” from Ravago.

114.   On August 7, 2018, Dmytruk resigned from Ravago.

115.   On August 12, 2018, VPA publicly announced Dmytruk’s new position.

116.   On September 14, 2018, Ward joined VPA.

Ravago’s Business

117.   Ravago outperforms peer companies through highly confidential processes and

       systems in all three segments of the industry: suppliers, logistics, and customers.

118.   The “supplier” segment of the business involves Ravago purchasing a broad

       spectrum of resin grades from manufacturers (the suppliers), which Ravago needs for

       product to sell to end-user customers.

119.   Ravago’s supplier sector is built upon its relationship with suppliers, which Ravago

       devotes significant time, money and resources to develop. These critical supplier

       relationships result in confidential information, including but not limited to pricing,

       material, volume commitments, logistics, and Ravago business models tailored to the

       commercialization of supplier products.

120.   Ravago takes steps to protect and hold aspects of its supplier business, such as the

       identities of its top suppliers, the volumes purchased, business models, pricing, and

       logistics for transferring the resin from the supplier to Ravago and then to the end

       user, as confidential.

121.   Ravago’s supplier confidential information is entrusted to only a select group of

       individuals within the company and is not generally known in the market. Supplier

       information is maintained in a database and Excel spreadsheets. If a competitor had

       access to the confidential aspects of the supplier segment, including the information

       in the database or the Excel spreadsheets, a competitor could purchase the resin from
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       the suppliers and deny the availability of resin to Ravago, which would limit its

       ability to sell resin to Ravago’s customers.

122.   During his employment with Ravago, Dmytruk had direct access to the Ravago

       confidential information relating to the supplier segment of Ravago’s business.

       Dmytruk had access to the database, as well as Excel spreadsheets containing

       supplier information.

123.   During his employment with Ravago, Dmytruk had direct access to the Ravago trade

       secrets relating to the supplier segment of Ravago’s business.

124.   The supply chain segment involves operations and businesses deployed by Ravago to

       transport and store products from the point of delivery from suppliers to delivery

       locations for customers.

125.   Ravago’s supply chain sector relies upon confidential information and trade secrets,

       which include pricing agreements with logistics providers in the warehousing,

       freight, trucking, and rail industries.

126.   Ravago’s supply chain segment includes confidential and trade secret information

       that is entrusted to only a select group of individuals within the company, is

       protected by non-disclosure agreements, and is not generally known in the market.

127.   During his employment with Ravago, Dmytruk was privy to the Ravago confidential

       information regarding Ravago’s supply chain segment, information that was

       protected from disclosure by the Agreement.

128.   During his employment with Ravago, Dmytruk was privy to the Ravago trade secrets

       regarding Ravago’s supply chain segment, information that was protected from

       disclosure by the Agreement.



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129.   The logistics involved in the supply chain are key to Ravago’s business because it

       involves how Ravago contracts with trucking companies and manages delivery. If it

       were to lose truck capacity to a competitor, Ravago would lose business.

130.   The customer segment of the Ravago business is the channel it uses to sell products

       to customers.

131.   Ravago’s customers’ sector is based upon unique pricing, financing, and credit

       strategies, and a broad portfolio of confidential and trade secret customer lists.

132.   Ravago’s customer information and strategies are entrusted to only a select group of

       individuals within the company and are not generally known in the market.

133.   During his employment with Ravago, Dmytruk had direct access to the Ravago

       confidential information relating to the supplier segment of Ravago’s business.

134.   During his employment with Ravago, Dmytruk had direct access to the Ravago trade

       secrets relating to the supplier segment of Ravago’s business.

Ravago Confidential Information

135.   In the Agreement, Dmytruk acknowledged that the following types of Ravago

       information are confidential: product information, financial information, supply and

       service information, marketing information, personnel information, customer

       information, and business information, including but not limited to the information

       identified in Paragraphs 118 to 127 above (“Ravago Confidential Information”).

136.   In the Agreement, Dmytruk promised not to disclose Ravago Confidential

       Information.

137.   During his employment with Ravago, Dmytruk had access to Ravago Confidential

       Information, namely its product information, financial information, financing

       strategies, supply and service information, marketing information, personnel
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       information, supplier information, customer information, and business information,

       including but not limited to the information identified in Paragraphs 118 to 127

       above.

138.   Ravago’s sales strategies and pricing methodologies are within Ravago Confidential

       Information. Ravago’s sales strategies and pricing methodologies include Ravago’s

       competitive    research   and   strategies   for   market   differentiation,   product

       implementation, deployment strategy, and price lists. This information is protected

       within Ravago and is not available to all employees. Dmytruk had access to

       Ravago’s sales strategies and pricing methodologies.

139.   Ravago employs investment bankers to research and monitor the markets in which it

       conducts business to be used in its procurement and sales strategies deployed

       globally. Work product generated by these investment bankers is treated as

       confidential and not shared publicly. Dmytruk had access to this information while

       employed by Ravago. This type of information was disclosed during the Board

       Meeting and in the Board Meeting PowerPoint Presentation under expectations of

       confidentiality.

140.   Ravago treats its customers’ information as confidential information. Only a select

       group of employees have access to customer information. At the time of his

       resignation, Dmytruk had access to all customer information.

Ravago Trade Secrets

141.   During his employment with Ravago, Dmytruk had access to “the design,

       specifications, capacity, testing, installation, implementation and customizing

       techniques and procedures concerning [Ravago’s] products and services.” Dmytruk

       also had access to Ravago customer lists, which are compilations of customer
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       information (together with the agreement definition “Ravago Trade Secrets”).

       Dmytruk agreed that these items are trade secrets belonging to Ravago.

142.   Dmytruk agreed not to disclose the Ravago Trade Secrets.

              Customized Facilities and Operations

143.   Ravago has built specialized facilities that contain customized systems and

       operations that improve the efficiency of its warehousing, transloading, blending,

       debagging, and bagging operations and that give Ravago a competitive advantage

       (“Ravago Systems”).

144.   Ravago owns the Ravago Systems, which it developed.

145.   For example, Ravago’s Baytown location is a specialized facility that contains

       Ravago Systems.

146.   Dmytruk has visited the Baytown location and knows the details of the Ravago

       Systems.

147.   For example, to get into the Ravago Baytown facility, whether or not employed by

       Ravago, everyone is required to sign a non-disclosure agreement and photographs are

       not allowed. Dmytruk signed the Baytown non-disclosure agreement when he visited

       Baytown.

148.   Vinmar built a facility right next to Baytown.

149.   A true and correct aerial photograph showing the proximity of the two facilities is

       attached hereto and incorporated herein as Exhibit H.

              Proprietary Formulas and Processes

150.   Ravago’s manufacturing division developed proprietary formulas and processes to

       manufacture and sell a portfolio of plastic resin and rubber materials ranging from



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       high performance engineered resins to recycled post-consumer materials that give

       Ravago a competitive advantage (“Ravago Manufactured Products”).

151.   Ravago owns the Ravago Manufactured Products it developed.

152.   Ravago limits access to the formulas and processes for creating the Ravago

       Manufactured Products to a limited number of employees, including using network

       file locations that have limited access rights and requiring that confidentiality

       agreements be signed by third parties prior to entering into Ravago manufacturing

       facilities.

153.   For example, Ravago’s Brighton, Michigan and Manchester, Tennessee facilities

       manufacture reactor and post-industrial recycle nylon 6 & 6.6 product family, which

       is sold under Ravago’s Hylon brand.

154.   Dmytruk, in his capacity as Vice President of Ravago’s manufacturing group, knows

       the details of how Ravago Manufactured Products are created, and, upon information

       and belief, had copies of product formulas on the LaCie hard drive.

155.   Vinmar has an affiliate company, Goradia Capital LLC, which was created for the

       purposes of acquiring petrochemical manufacturing assets, which would be a direct

       competitor to Ravago’s manufacturing business.

156.   VPA, and its affiliated companies, have existing relationships with petrochemical

       manufacturing companies that manufacture products competitive with Ravago

       Manufactured Products.

               Ravago Software

157.   Ravago uses software to manage the various segments of its business.




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158.   Dmytruk was part of a working group within Ravago that provided feedback to

       Ravago programmers to develop various aspects of software used within Ravago’s

       business.

159.   As part of the working group, Dmytruk participated in calls and presentations and he

       had access to e-mails and other documentation regarding the features and capabilities

       of the software.

160.   The software, as customized by Ravago programmers, is shared only with employees

       who need the software to do their work. The software is not shared outside of the

       business.

161.   The software’s features and capabilities are valuable, proprietary, and confidential

       information that, if wrongfully disclosed, would enable a competitor to more

       effectively target its customers by understanding their needs. Such information

       includes, but is not limited to, the features and specifications of the customized

       software Ravago has invested substantial sums in developing and maintaining and

       the terms of the agreements between Ravago and its customers (“Ravago Customer

       Software”).

162.   Access to the system is limited to a select group of employees because it reveals

       Ravago’s strategies for assessing and considering risk in order to manage credit,

       which is a key competitive advantage for Ravago in the market.

              Ravago Customer Lists

163.   In addition to customer information maintained in its software, Ravago divisions

       keep customer lists on Excel spreadsheets to use in day-to-day business.




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164.   Dmytruk, from his work in the Muehlstein division and other divisions, had access to

       those customer lists and he would have had copies of the lists on his Ravago-issued

       computer.

165.   The customer lists are compilations that derive independent economic value from not

       being generally known to, and not being readily ascertainable by proper means by, a

       competitor. For example, if a competitor had Ravago’s customer list, it could solicit

       customers easily in a market where customers are not readily identifiable by having

       access to purchasing history, forecasted volumes, and knowledge and contact

       information for procurement decision makers.

Ravago Takes Reasonable Measures to Protect Ravago Confidential Information and
Ravago Trade Secrets.

166.   Ravago employs physical protection at its work sites, including facility access

       controls.

167.   Entry to Ravago’s offices and facilities is limited to authorized-personnel only.

168.   Ravago does not allow any non-employee to access its computer systems.

169.   Ravago requires employees to change computer access passwords every four months.

170.   Employee access to information stored on Ravago’s computer servers is limited by

       the job duties assigned to the particular employee.

171.   Ravago employees are issued a company computer, hard drive, and cellphone, each

       of which must be returned upon the employees’ departure from the company.

172.   As a condition of employment and the use of the above stated company technology,

       all employees are bound by the Employee Handbook, which prohibits the disclosure,

       deletion, or destruction of any files or data from Ravago-issued devices.




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173.   Ravago has employees sign Non-Disclosure Agreements. Dmytruk’s Agreement

       includes non-disclosure obligations.

174.   After resigning from Ravago, Dmytruk remains subject to a duty not to use trade

       secrets, or other confidential information, which he has acquired in the course of his

       employment, for his own benefit or that of a competitor to the detriment of Ravago.

175.   Ravago employees (other than information technology professionals) do not have

       access to the Wi-Fi network password and cannot connect devices to the Ravago

       network at its offices.

Dmytruk Misappropriates Ravago Confidential Information and Ravago Trade Secrets

176.   Upon information and belief, during the communications among H. Goradia, V.

       Goradia, Page, other employees of Vinmar, and Dmytruk, including the June 20 Call,

       in the period before Dmytruk resigned, Dmytruk verbally relayed Ravago’s

       confidential information and trade secrets to Vinmar or its representatives.

177.   Upon information and belief, Dmytruk used other communication means to transfer

       Ravago’s confidential information and trade secrets to Vinmar or its representatives.

178.   During his employment, Dmytruk was issued (a) a MacBook computer; (b) a LaCie

       hard drive; and (c) a mobile phone. Upon resignation, Dmytruk did not return the

       LaCie hard drive to Ravago.

179.   In June of 2018, prior to returning his computer and phone to Ravago, Dmytruk

       conducted several searches on his Ravago-issued computer for how to delete

       computer files from his computer and pictures from his phone.

180.   On or about August 7, 2018, the day Dmytruk resigned from Ravago, Dmytruk

       conducted additional Internet searches about how to delete files from a phone and

       computer.
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181.   Dmytruk backed up his Ravago-issued computer over thirty times to a LaCie hard

       drive, including on August 6, 2018—the day before he resigned from Ravago. This

       last backup created an entire image of his Ravago computer and copied all of the

       files and e-mails from the computer to his LaCie hard drive.

182.   Dmytruk then erased the computer and returned it to a point in time of January 2013,

       using the system restore process. The system restore process occurred on August 7,

       2018 at 1:37 P.M., erased all data from the system, and overwrote the computer’s

       drive contents with the contents of the restore point in January 2013. Doing this

       erase-and-restore had the effect of deleting five years’ worth of Ravago information

       from Dmytruk’s computer.

183.   On August 9, 2018, Dmytruk met with a Ravago employee to return his company-

       issued technology.

184.   In direct violation of the Employee Handbook, Dmytruk selectively deleted text

       messages with Siebenaller and Ward from his company-issued mobile phone.

185.   Forensic analysis shows that Dmytruk deleted 123 call log entries, 209 chats, 41

       notes, 2710 web history items, and 50 searched items from his Ravago-issued

       cellphone and laptop. His deleted entries include “how to delete all your photos at

       once on an iphone” and “how to wipe your macbook air clean before you sell.”

186.   Despite being required to do so, Dmytruk did not return his company-issued LaCie

       hard drive.

187.   The missing LaCie hard drive has access to over thirty copies of Dmytruk’s Ravago

       computer and all of its files as it existed on unique dates and times during his

       employment.



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188.   Each of the backup copies of Dmytruk’s computer on the LaCie hard drive contains

       confidential and trade secret information that was stored on Dmytruk’s MacBook at

       the time of each backup. This information includes all e-mails, documents, files,

       images, chat conversations, applications, and settings of the computer.

189.   Upon information and belief, the backup copies of Dmytruk’s Ravago computer

       contained on the LaCie hard drive are in Dmytruk’s possession, custody, or control.

Threatened Continued Misappropriation

190.   Dmytruk is now leading VPA as its President. Upon information and belief, as his

       role as President of VPA, Dmytruk is actively involved in the Vinmar business and

       the business of VPA affiliates. VPA, and its affiliated companies, are in the business

       of competing with Ravago.

191.   After resigning from Ravago, Dmytruk remains subject to a duty not to use trade

       secrets, or other confidential information, which he has acquired in the course of his

       employment, for his own benefit or that of a competitor to the detriment of Ravago.

192.   Because Dmytruk continues to have access to Ravago Confidential Information, it is

       inevitable that Dmytruk will use that information to Ravago’s harm.

193.   Because Dmytruk continues to have access to Ravago Confidential Information,

       there is a real threat of continued or future misappropriation by Dmytruk of Ravago’s

       confidential information.

194.   Because Dmytruk continues to have access to Ravago Trade Secrets, it is inevitable

       that Dmytruk will use that information to Ravago’s harm.

195.   Because Dmytruk continues to have access to Ravago Trade Secrets, there is a real

       threat of continued or future misappropriation by Dmytruk of Ravago’s confidential

       information.
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Ravago Suffers Irreparable Harm.

196.   Upon information and belief, Dmytruk used and continues to use Ravago

       confidential information to assist VPA, and affiliated companies, in directly

       competing with Ravago.

197.   Upon information and belief, Dmytruk used and continues to use Ravago trade

       secrets to assist VPA, and affiliated companies, in directly competing with Ravago.

198.   Ravago is the owner of the Ravago Confidential Information.

199.   Ravago is the owner of the Ravago Trade Secrets.

200.   The Ravago Confidential Information is valuable to a competitor because it would

       enable the business to copy such models, methods, and strategies to compete directly

       with Ravago. This would give the competitor an advantage. VPA, and its affiliated

       companies, are competitors.

201.   The Ravago supplier information would be highly valuable to a competitor because it

       would enable the business to contact suppliers with information that might not

       otherwise be known, leverage information unique to Ravago on volume, pricing, and

       commercialization strategies, and divert supply from Ravago, which would hurt the

       rest of Ravago’s business.

202.   The Ravago customer lists would be highly valuable to a competitor because they

       would enable the business to contact new customers, that might not otherwise be

       known, and solicit the most valuable customers first.

203.   The Ravago pricing information would be highly valuable to a competitor because it

       would enable such competitor to use pricing information, that might not otherwise be

       known, to undercut Ravago’s pricing offers to its customers and take higher margin

       business first.
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204.   Premier Polymers (“Premier”) is an affiliate of VPA. VPA or Premier used Ravago

       Confidential Information to solicit customers it did not have previous relationships

       with and attempted to steal the business using knowledge of Ravago’s pricing

       information unless Ravago cut its prices.

205.   The Ravago Systems are a Ravago Trade Secret. The Ravago Systems derive

       independent economic value from not being generally known to competitors because

       it represents a significant investment by Ravago of time, money, knowledge base,

       and resources that a competitor would need to replicate. The Ravago Systems would

       be highly valuable to a competitor because it would enable the business to compete

       by increasing efficiency, reducing profit margins, and allowing for better logistics

       related value-added solutions to be provided to suppliers and customers. Ravago

       invested considerable time and money into developing the Ravago Systems. If a

       competitor would be able to use the Ravago Systems without the investment of the

       time and money to independently create it, the competitor would be enriched unjustly

       and able to compete unfairly against Ravago.

206.   The Ravago Software is a Ravago Trade Secret. The Ravago Software, or its

       component design and structure (even without source code), derives independent

       economic value from not being generally known to competitors because it represents

       a significant investment by Ravago of time, money, knowledge base, and resources

       that a competitor would need to replicate. The Ravago Software would be highly

       valuable to a competitor because it would (i) enable the business to more accurately

       forecast sales and supply needs for customers; (ii) allow the business to push to sales

       person all information needed for a sale including purchasing history, current pricing



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       on available inventory, and credit rating; and (iii) provide the business a reporting

       tool to track and analyze pricing lanes and availability for logistics providers. If a

       competitor would be able to copy the Ravago Software without the investment of

       time and money to independently design it, the competitor would be enriched

       unjustly and able to compete unfairly against Ravago.

207.   The Ravago Manufactured Products are a Ravago Trade Secret. The Ravago

       Manufactured Products derive independent economic value from not being generally

       known to competitors because it represents a significant investment by Ravago of

       time, money, knowledge base, and resources that a competitor would need to

       replicate. The Ravago Manufactured Products would be highly valuable to a

       competitor because it would enable their business to (i) create and commercialize

       products that have an existing market and client base; and (ii) use manufacturing

       related services to offer value added services to suppliers and customers. If a

       competitor would be able to copy the Ravago Manufactured Products without the

       investment of time and money to independently design, create channels to market,

       and create a client base, the competitor would be enriched unjustly and able to

       compete unfairly against Ravago.

208.   As Dmytruk continues to use Ravago’s information to directly solicit suppliers, as

       well as customers, and to lure employees, his conduct is having an immediate and

       detrimental effect on Ravago. In particular, Ravago has incurred investigation and

       hiring costs, has had to alter its compensation structures, expend time and energy to

       keep employees who are being solicited, has had to reduce its prices to keep

       customers and not lose business to VPA and Premier Polymers, and has had to



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       implement other protective means that will be more fully developed during discovery

       and as the case is ongoing.

209.   Ravago does not have access to the information solely in Dmytruk’s possession or

       custody, or under his control regarding how Dmytruk has used Ravago Confidential

       Information and Ravago Trade Secrets to benefit himself or VPA or Vinmar. Upon

       information and belief, Dmytruk has disclosed Ravago Confidential Information and

       Ravago Trade secrets to VPA and to Vinmar, who are using that information

       (including information about the best employees to solicit away from Ravago) to

       compete with Ravago. Dmytruk is being personally compensated and is benefitting

       directly from his misuse of the Ravago Confidential Information and the Ravago

       Trade Secrets.

Dmytruk Breaches his Agreement by Soliciting Employees.

210.   Ravago’s September 2018 telephone records show that Dmytruk, directly or

       indirectly, contacted several Ravago employees for the purpose of soliciting them for

       employment with Vinmar or VPA.

211.   In particular, upon information and belief, Dmytruk convinced Siebenaller to contact

       Ravago employees that Dmytruk knew would be valuable to VPA.

212.   Siebenaller met or called VPA employees to assist Dmytruk in acquiring a team of

       individuals from each division of Ravago’s business.

213.   Upon information and belief, based on information obtained directly from Dmytruk,

       Cassel, the Vinmar Director, directly contacted Ravago employees in an attempt to

       solicit Ravago’s employees to work for Dmytruk at VPA.

214.   Attached hereto and incorporated herein as Exhibit I, is a true and correct screenshot

       of a LinkedIn communication that Cassel had with a Ravago employee, soliciting
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       him, including a reference to the employee’s relationship with Dmytruk, and then

       sending him a large gift from Texas.

215.   Vinmar has recently offered at least three additional Ravago employees employment

       at VPA. Upon information and belief, Vinmar obtained the information to recruit

       these employees directly from Dmytruk.

216.   As recently as November 23, 2018, VPA, directly or through Vinmar, continues to

       solicit key Ravago employees, using Peretz to recruit from Canada for United States

       positions.

217.   Upon information and belief, the Vinmar Group has not made similar targeted

       attempts to poach employees from other competitors at any point in recent time.

Dmytruk Breaches His Agreement by Soliciting Customers.

218.   Dmytruk’s Agreement prohibits him from directly or indirectly soliciting Ravago

       customers.

219.   Dmytruk has either directly or indirectly contacted Ravago’s customers through

       improper use of Ravago’s customer lists obtained during his employment with

       Ravago.

220.   Upon information and belief, Dmytruk provided Ravago’s confidential customer

       pricing and volume commitment information to others within Vinmar who attempted

       to undercut Ravago’s proposed pricing and secure the customers’ business, in

       particular, VPA’s affiliate, Premier. Premier would not have had access to that

       confidential information but for Dmytruk providing it to them.




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Prior Litigation

221.   On September 24, 2018, Ravago sued Dmytruk for these violations, along with other

       defendants, in the United States District Court for the Middle District of Florida

       (“First Action”).

222.   Dmytruk moved to dismiss the claims there for improper venue, contending that

       Ravago should bring the claims in Connecticut.

223.   Ravago previously moved for injunctive relief in the First Action, and at the time of

       filing this Complaint, the motion had not been decided due to claims by other

       defendants for lack of personal jurisdiction.

224.   Ravago has acted swiftly and consistently to protect its interests in this matter.

225.   To avoid concerns surrounding any jurisdictional issues in the First Action and to

       address Dmytruk’s venue objection (saying that Connecticut is the proper venue),

       Ravago brings this action solely against Dmytruk in this district.

                                   CAUSES OF ACTION

                               COUNT I
            BREACH OF CONTRACT – CONFIDENTIAL INFORMATION

226.   Ravago incorporates Paragraphs 1 – 225 above as if fully restated herein.

227.   The Agreement, as detailed in Paragraphs 56 to 75 above and incorporated herein,

       restricts Dmytruk from using or disclosing Ravago Confidential Information.

228.   Dmytruk breached, and continues to breach, the Agreement by using and/or

       disclosing Ravago Confidential Information.

229.   In the Agreement, Dmytruk agreed that injunctive relief was appropriate in the event

       of any breach or threatened breach of the Agreement.

230.   Dmytruk agreed as follows:


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       The Employee understands, acknowledges and agrees that in the event of a breach
       or threatened breach of any of the covenants and promises contained in this
       Agreement [Ravago] shall suffer irreparable injury for which there is no adequate
       remedy at law. [Ravago] will therefore be entitled to injunctive relief from the
       courts, without bond, enjoining the Employee from engaging in activities in
       breach of the Agreement.

       (Ex. A § 15.)

231.   As a proximate result of Dmytruk’s conduct, Ravago is likely to suffer irreparable

       harm in the absence of preliminary relief because of the loss of its exclusive use of

       the Ravago Confidential Information.

232.   The balance of equities tips in Ravago’s favor because Dmytruk agreed not to use

       Ravago’s Confidential Information and Dmytruk has no reason to use Ravago’s

       Confidential information.

233.   A preliminary and permanent injunction preventing Dmytruk from using Ravago

       Confidential Information is in the public interest.

234.   Ravago is entitled to a preliminary injunction preventing Dmytruk from using

       Ravago Confidential Information.

235.   Ravago is entitled to a permanent injunction preventing Dmytruk from using Ravago

       Confidential Information.

236.   In the alternative, if preliminary and permanent injunctive relief is not granted, then

       Ravago is entitled to damages in an amount to be determined at trial.

237.   Ravago is entitled to an award of attorneys’ fees under Section 9 of the Agreement,

       which provides that “[i]f Employee breaches any of the covenants set forth in this

       Agreement, Employee agrees to pay all costs (including reasonable attorney’s fees)

       incurred by [Ravago] in establishing that breach and in otherwise enforcing any of

       the covenants or provisions of this Agreement.”

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238.   Ravago has incurred and continues to incur costs and attorneys’ fees in connection

       with establishing Dmytruk’s breach and in enforcing the covenants and provisions of

       this Agreement and is entitled to a judgment in its favor in an amount to be

       determined at trial.

                                    COUNT II
                       BREACH OF CONTRACT – TRADE SECRETS

239.   Ravago incorporates Paragraphs 1 – 238 above as if fully restated herein.

240.   The Agreement, as detailed in Paragraphs 56 to 75 above and incorporated herein,

       restricts Dmytruk from using or disclosing Ravago Trade Secrets.

241.   Dmytruk breached, and continues to breach, the Agreement by using and/or

       disclosing Ravago Trade Secrets.

242.   In the Agreement, Dmytruk agreed that injunctive relief was appropriate in the event

       of any breach or threatened breach of the Agreement.

243.   Dmytruk agreed as follows:

       The Employee understands, acknowledges and agrees that in the event of a breach
       or threatened breach of any of the covenants and promises contained in this
       Agreement [Ravago] shall suffer irreparable injury for which there is no adequate
       remedy at law. [Ravago] will therefore be entitled to injunctive relief from the
       courts, without bond, enjoining the Employee from engaging in activities in
       breach of the Agreement.

       (Ex. A § 15.)

244.   As a proximate result of Dmytruk’s conduct, Ravago is likely to suffer irreparable

       harm in the absence of preliminary relief because of the loss of its exclusive use of

       the Ravago Trade Secrets.

245.   The balance of equities tips in Ravago’s favor because Dmytruk agreed not to use the

       Ravago Trade Secrets and Dmytruk has no reason to use Ravago Trade Secrets.



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246.   An injunction preventing Dmytruk from using Ravago Trade Secrets is in the public

       interest.

247.   Ravago is entitled to a preliminary injunction preventing Dmytruk from using

       Ravago Trade Secrets.

248.   Ravago is entitled to a permanent injunction preventing Dmytruk from using Ravago

       Trade Secrets.

249.   In the alternative, if preliminary and permanent injunctive relief is not granted, then

       Ravago is entitled to damages in an amount to be determined at trial.

250.   Ravago is entitled to an award of attorneys’ fees under Section 9 of the Agreement,

       which provides that “[i]f Employee breaches any of the covenants set forth in this

       Agreement, Employee agrees to pay all costs (including reasonable attorney’s fees)

       incurred by [Ravago] in establishing that breach and in otherwise enforcing any of

       the covenants or provisions of this Agreement.”

251.   Ravago has incurred and continues to incur costs and attorneys’ fees in connection

       with establishing Dmytruk’s breach and in enforcing the covenants and provisions of

       this Agreement and is entitled to a judgment in its favor in an amount to be

       determined at trial.

                              COUNT III
           BREACH OF CONTRACT – FAILURE TO RETURN PROPERTY

252.   Ravago incorporates Paragraphs 1 – 251 above as if fully restated herein.

253.   The Agreement, as detailed in Paragraphs 56 to 75 above and incorporated herein,

       requires Dmytruk to deliver all of his documents and computer files to Ravago at the

       termination of his employment.




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254.   Dmytruk breached the Agreement by destroying files on his Ravago-issued computer

       and iPhone, including files that were the property of Ravago.

255.   Dmytruk breached the Agreement by retaining copies of files on his Ravago

       computer following his resignation from Ravago.

256.   In the Agreement, Dmytruk agreed that injunctive relief was appropriate in the event

       of any breach or threatened breach of the Agreement.

257.   Dmytruk agreed as follows:

       The Employee understands, acknowledges and agrees that in the event of a breach
       or threatened breach of any of the covenants and promises contained in this
       Agreement [Ravago] shall suffer irreparable injury for which there is no adequate
       remedy at law. [Ravago] will therefore be entitled to injunctive relief from the
       courts, without bond, enjoining the Employee from engaging in activities in
       breach of the Agreement.

       (Ex. A § 15.)

258.   As a proximate result of Dmytruk’s conduct in retaining copies of files from his

       Ravago computer, Ravago is likely to suffer irreparable harm in the absence of

       preliminary relief because of the loss of its sole use of the Ravago Confidential

       Information, Ravago Trade Secrets, and any other business information Dmytruk

       took.

259.   The balance of equities tips in Ravago’s favor because Dmytruk agreed to return the

       Ravago files and information and Dmytruk has no legitimate claim to retain the

       information.

260.   A preliminary and permanent injunction requiring Dmytruk to return the files and

       information from the computer is justified as specific performance of the terms of the

       Agreement.




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261.   In the alternative, if preliminary and permanent injunctive relief is not granted, then

       Ravago is entitled to damages in an amount to be determined at trial.

262.   Ravago is entitled to an award of attorneys’ fees under Section 9 of the Agreement,

       which provides that “[i]f Employee breaches any of the covenants set forth in this

       Agreement, Employee agrees to pay all costs (including reasonable attorney’s fees)

       incurred by [Ravago] in establishing that breach and in otherwise enforcing any of

       the covenants or provisions of this Agreement.”

263.   Ravago has incurred and continues to incur costs and attorneys’ fees in connection

       with establishing Dmytruk’s breach and in enforcing the covenants and provisions of

       this Agreement and is entitled to a judgment in its favor in an amount to be

       determined at trial.

                               COUNT IV
               BREACH OF CONTRACT – EMPLOYEE SOLICITATION

264.   Ravago incorporates Paragraphs 1 – 263 above as if fully restated herein.

265.   The Agreement, as detailed in Paragraphs 56 to 75 above and incorporated herein,

       prohibits Dmytruk from soliciting, directly or indirectly, Ravago employees.

266.   Dmytruk breached, and is continuing to breach, this section of the Agreement by

       directly and indirectly recruiting and attempting to recruit current Ravago

       employees, including the recruitment of Siebenaller and Ward.

267.   In the Agreement, Dmytruk agreed that injunctive relief was appropriate in the event

       of any breach or threatened breach of the Agreement.

268.   Dmytruk agreed as follows:

       The Employee understands, acknowledges and agrees that in the event of a breach
       or threatened breach of any of the covenants and promises contained in this
       Agreement [Ravago] shall suffer irreparable injury for which there is no adequate

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       remedy at law. [Ravago] will therefore be entitled to injunctive relief from the
       courts, without bond, enjoining the Employee from engaging in activities in
       breach of the Agreement.

       (Ex. A § 15.)

269.   As a proximate result of Dmytruk’s conduct in soliciting, directly or indirectly,

       Ravago’s employees, Ravago is likely to suffer irreparable harm in the absence of

       preliminary relief because of the loss of customer relationships.

270.   The balance of equities tips in Ravago’s favor because Dmytruk agreed not to solicit,

       directly or indirectly, Ravago’s employees, and Dmytruk has no legitimate reason to

       seek to poach Ravago employees in violation of his Agreement.

271.   A preliminary and permanent injunction requiring Dmytruk to return the files and

       information from the computer is justified as specific performance of the terms of the

       Agreement.

272.   In the alternative, if preliminary and permanent injunctive relief is not granted, then

       Ravago is entitled to damages in an amount to be determined at trial.

273.   Ravago is entitled to an award of attorneys’ fees under Section 9 of the Agreement,

       which provides that “[i]f Employee breaches any of the covenants set forth in this

       Agreement, Employee agrees to pay all costs (including reasonable attorney’s fees)

       incurred by [Ravago] in establishing that breach and in otherwise enforcing any of

       the covenants or provisions of this Agreement.”

274.   Ravago has incurred and continues to incur costs and attorneys’ fees in connection

       with establishing Dmytruk’s breach and in enforcing the covenants and provisions of

       this Agreement and is entitled to a judgment in its favor in an amount to be

       determined at trial.



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                                COUNT V
               BREACH OF CONTRACT – CUSTOMER SOLICITATION

275.   Ravago incorporates Paragraphs 1 – 274 above as if fully restated herein.

276.   The Agreement, as detailed in Paragraphs 56 to 75 above and incorporated herein,

       prohibits Dmytruk from soliciting, directly or indirectly, Ravago customers.

277.   Dmytruk breached, and is continuing to breach, this section of the Agreement by

       directly and indirectly soliciting Ravago customers.

278.   In the Agreement, Dmytruk agreed that injunctive relief was appropriate in the event

       of any breach or threatened breach of the Agreement.

279.   Dmytruk agreed as follows:

       The Employee understands, acknowledges and agrees that in the event of a breach
       or threatened breach of any of the covenants and promises contained in this
       Agreement [Ravago] shall suffer irreparable injury for which there is no adequate
       remedy at law. [Ravago] will therefore be entitled to injunctive relief from the
       courts, without bond, enjoining the Employee from engaging in activities in
       breach of the Agreement.

       (Ex. A § 15.)

280.   As a proximate result of Dmytruk’s conduct in soliciting, directly or indirectly,

       Ravago’s customers, Ravago is likely to suffer irreparable harm in the absence of

       preliminary relief because of the loss of the customers, its ongoing revenue and

       potential to expand business.

281.   The balance of equities tips in Ravago’s favor because Dmytruk agreed not to solicit,

       directly or indirectly, Ravago’s customers, and Dmytruk has no legitimate right to do

       so.




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282.   A preliminary and permanent injunction requiring Dmytruk to return the files and

       information from the computer is justified as specific performance of the terms of the

       Agreement.

283.   In the alternative, if preliminary and permanent injunctive relief is not granted, then

       Ravago is entitled to damages in an amount to be determined at trial.

284.   Ravago is entitled to an award of attorneys’ fees under Section 9 of the Agreement,

       which provides that “[i]f Employee breaches any of the covenants set forth in this

       Agreement, Employee agrees to pay all costs (including reasonable attorney’s fees)

       incurred by [Ravago] in establishing that breach and in otherwise enforcing any of

       the covenants or provisions of this Agreement.”

285.   Ravago has incurred and continues to incur costs and attorneys’ fees in connection

       with establishing Dmytruk’s breach and in enforcing the covenants and provisions of

       this Agreement and is entitled to a judgment in its favor in an amount to be

       determined at trial.

                                      COUNT VI
                              BREACH OF FIDUCIARY DUTY

286.   Ravago incorporates Paragraphs 1 – 285 above as if fully restated herein

287.   As an officer of Ravago, Dmytruk owed a fiduciary duty to Ravago. This duty

       includes without limitation, duties of good faith, care, and loyalty.

288.   By virtue of the conduct and acts described herein, Dmytruk breached the fiduciary

       duties owed to Ravago.

289.   As a result of Dmytruk’s conduct and actions as described throughout this

       Complaint, Ravago has been damaged in an amount to be determined at trial.




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290.   Dmytruk’s actions were willful and in reckless disregard of Ravago’s rights and

       interests, entitling Ravago to punitive damages in an amount to be determined at

       trial.

                                COUNT VII
                VIOLATION OF THE DEFEND TRADE SECRETS ACT

291.   Ravago incorporates Paragraphs 1 – 290 above as if fully restated herein.

292.   This is an action for injunctive relief and damages under the Defend Trade Secrets

       Act, 18 U.S.C. § 1836 (“DTSA”).

293.   Ravago owns and possesses the Ravago Trade Secrets.

294.   Ravago’s business operates in interstate commerce and it uses the Ravago Trade

       Secrets in interstate commerce.

295.   The Ravago Trade Secrets are not public and are made available only to select

       employees who require the information for performance of their duties.

296.   The Ravago Trade Secrets are trade secrets under the Defend Trade Secrets Act

       because they are comprised of business, scientific, technical, economic, or

       engineering information, including patterns, plans, compilations, program devices,

       formulas, designs, prototypes, methods, techniques, processes, procedures, programs,

       or codes, as described in 18 U.S.C. § 1839(3).

297.   As set forth herein, Ravago takes reasonable measures to keep the Ravago Trade

       Secrets secret.

298.   The Ravago Trade Secrets derive independent economic value by not being known or

       readily ascertainable by proper means to competitors.

299.   Dmytruk acquired the Ravago Trade Secrets under a duty to maintain their secrecy.




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300.   Ravago did not give permission to Dmytruk to take the Ravago Trade Secrets when

       he left Ravago.

301.   Dmytruk took the Ravago Trade Secrets for his personal benefit to achieve a new

       position with VPA and for a larger salary at VPA.

302.   Dmytruk willfully and maliciously misappropriated the Ravago Trade Secrets and

       continues to have them to this day.

303.   As a result of Dmytruk’s misappropriation of the Ravago Trade Secrets, Ravago is

       suffering injury and harm due to its reputation and good will among its customers

       and suppliers. Ravago may lose customers and suppliers to competitors that it cannot

       recover. Without immediate and permanent injunctive relief, Ravago will sustain

       irreparable injury for which there is no adequate remedy at law.

304.   As a result of Dmytruk’s misappropriation of the Ravago Trade Secrets, Ravago has

       suffered damages for his prior actions, which if not enjoined, will be difficult if not

       impossible to measure, including loss of profits that would have been earned but for

       his actions. Ravago is thus entitled to preliminary and permanent injunctive relief to

       stop any further harm to its business, which cannot reasonably be measured, as well

       as to recover any monetary damages for actions taken prior to injunctive relief being

       granted.

305.   Dmytruk’s conduct has been willful, entitling Ravago to exemplary damages under

       the Defend Trade Secrets Act.

                              COUNT VIII
              THREATENED MISAPPROPRIATION UNDER THE DTSA

306.   Ravago incorporates Paragraphs 1 – 305 above as if fully restated herein.




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307.   Under the DTSA, the Court may grant an injunction “to prevent any actual or

       threatened misappropriation . . . on such terms as the court deems reasonable.” 18

       U.S.C. § 1836(b)(3)(A).

308.   In addition, the Court may require “affirmative actions to be taken to protect the

       trade secret.” 18 U.S.C. § 1836(b)(3)(A)(ii).

309.   Unless enjoined, Dmytruk threatens to continue to use or disclose the Ravago Trade

       Secrets in his capacity as President of VPA.

310.   As a proximate result of Dmytruk’s conduct, Ravago is likely to suffer irreparable

       harm in the absence of preliminary relief because of the threatened loss of its

       exclusive use of the Ravago Trade Secrets.

311.   The balance of equities tips in Ravago’s favor because Dmytruk agreed not to use the

       Ravago Trade Secrets and Dmytruk has no legitmate reason to use the Ravago Trade

       Secrets.

312.   An injunction preventing Dmytruk from using the Ravago Trade Secrets is in the

       public interest.

313.   Ravago is entitled to a preliminary injunction preventing Dmytruk from using or

       threatening further disclosure of Ravago Trade Secrets.

314.   Ravago is entitled to a permanent injunction preventing Dmytruk from using Ravago

       Trade Secrets.

                                  COUNT IX
                   VIOLATION OF FLORIDA TRADE SECRETS ACT

315.   Ravago incorporates Paragraphs 1 – 314 above as if fully restated herein.

316.   This is an action for injunctive relief and damages under the Florida Trade Secrets

       Act, Chapter 688, Florida Statutes (“FTSA”).


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317.   Ravago owns and possesses the Ravago Trade Secrets.

318.   Ravago’s headquarters are in Florida.

319.   Immediately prior to his resignation from Ravago, Dmytruk was a resident and

       citizen of Florida.

320.   Ravago’s business operates in interstate commerce, directed from its headquarters in

       Florida.

321.   After resigning from Ravago, Dmytruk remains subject to a duty not to use trade

       secrets that he acquired in the course of his employment, for his own benefit or that

       of a competitor to the detriment of Ravago.

322.   The Ravago Trade Secrets are not public and are made available only to select

       employees who require the information for performance of their duties.

323.   The Ravago Trade Secrets are trade secrets under the Florida Trade Secrets Act

       because they are comprised of business, scientific, technical, economic, or

       engineering information, including patterns, plans, compilations, program devices,

       formulas, designs, prototypes, methods, techniques, processes, procedures, programs,

       or codes, as described in Fla. St. § 688.002(4).

324.   As set forth herein, Ravago takes reasonable efforts under the circumstances to keep

       the Ravago Trade Secrets secret.

325.   The Ravago Trade Secrets derive independent economic value by not being known or

       readily ascertainable by proper means by other persons who can obtain economic

       value from their disclosure or use.

326.   Dmytruk acquired the Ravago Trade Secrets under a duty to maintain their secrecy.




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327.   Ravago did not give permission to Dmytruk to take the Ravago Trade Secrets when

       he left.

328.   Dmytruk took the Ravago Trade Secrets for his personal benefit to achieve a new

       position with VPA and for a larger salary at VPA.

329.   Dmytruk willfully and maliciously misappropriated the Ravago Trade Secrets and

       continues to have them to this day.

330.   As a result of Dmytruk’s misappropriation of the Ravago Trade Secrets, Ravago is

       suffering injury and harm due to its reputation and good will among its customers

       and suppliers. Ravago may lose customers and suppliers to competitors that it cannot

       recover. Without immediate and permanent injunctive relief, Ravago will sustain

       irreparable injury for which there is no adequate remedy at law.

331.   As a result of Dmytruk’s misappropriation of the Ravago Trade Secrets, Ravago has

       suffered damages for his prior actions, which, if not enjoined, will be difficult if not

       impossible to measure, including loss of profits that would have been earned but for

       his actions. Ravago is thus entitled to preliminary and permanent injunctive relief to

       stop any further harm to its business, which cannot reasonably be measured, as well

       as to recover any monetary damages for actions taken prior to injunctive relief being

       granted.

332.   Dmytruk’s conduct has been willful, entitling Ravago to exemplary damages under

       the Florida Trade Secrets Act.

                                   COUNT X
                  THREATENED MISAPPROPRIATION UNDER THE FTSA

333.   Ravago incorporates Paragraphs 1 – 332 above as if fully restated herein.




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334.   Under the FTSA, “[a]ctual or threatened misappropriation may be enjoined.

       § 688.003(1), Fla. St.

335.   Unless enjoined, Dmytruk threatens to continue to use or disclose the Ravago Trade

       Secrets in his capacity as President of VPA.

336.   As a proximate result of Dmytruk’s conduct, Ravago is likely to suffer irreparable

       harm in the absence of preliminary relief because of the threatened loss of its

       exclusive use of the Ravago Trade Secrets.

337.   The balance of equities tips in Ravago’s favor because Dmytruk agreed not to use the

       Ravago Trade Secrets and Dmytruk has no reason to use Ravago Trade Secrets.

338.   An injunction preventing Dmytruk from using Ravago Trade Secrets is in the public

       interest.

339.   Ravago is entitled to a preliminary injunction preventing Dmytruk from using

       Ravago Trade Secrets.

340.   Ravago is entitled to a permanent injunction preventing Dmytruk from using Ravago

       Trade Secrets.

                                   COUNT XI
                         COMPUTER FRAUD AND ABUSE ACT

341.   Ravago incorporates Paragraphs 1 – 340 above as if fully restated herein.

342.   This is an action for damages and injunctive relief under the Computer Fraud and

       Abuse Act, 18 U.S.C. § 1030.

343.   Ravago provides each of its employees access to a computer and computer network

       for purposes of fulfilling the employee’s duties to Ravago.

344.   Ravago’s Employee Handbook directs that all computers issued to Ravago

       employees must be returned upon their departure from the company.

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345.   The Employee Handbook further requires that the computer be returned in the

       condition in which it was maintained by the employee during his or her employment.

346.   No former employee is authorized to access or alter any Ravago computer or any

       information contained on a Ravago computer after departing the company’s

       employment.

347.   Dmytruk intentionally accessed his Ravago-issued computer with the intent to delete

       Ravago information from it.

348.   Ravago did not authorize Dmytruk to erase and restore his Ravago computer.

349.   By downloading the information from his Ravago computer to his LaCie hard drive

       which he never returned to Ravago, Dmytruk obtained a substantial amount of

       information from Ravago.

350.   Ravago has been damaged in excess of $5,000.00 as a result of Dmytruk’s

       unauthorized access to its computer, and has incurred attorneys’ fees in bringing this

       claim.

                                  PRAYER FOR RELIEF

Based on the foregoing, Ravago prays for the following relief:

1.     Specific Performance by Dmytruk of all obligations under the Agreement.

2.     Preliminary injunctive relief preventing Dmytruk, his agents, employees, attorneys, and

       other persons who are in active concert or participation with Dmytruk, from using

       Ravago Confidential Information, including its product information, financial

       information, supply and service information, marketing information, personnel

       information, customer information, and business information, so long as that information

       remains Confidential under the Agreement.



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3.   Permanent injunctive relief preventing Dmytruk, his agents, employees, attorneys, and

     other persons who are in active concert or participation with Dmytruk, from using

     Ravago Confidential Information, including its product information, financial

     information, supply and service information, marketing information, personnel

     information, customer information, and business information, so long as that information

     remains Confidential under the Agreement.

4.   Preliminary injunctive relief preventing Dmytruk, his agents, employees, attorneys, and

     other persons who are in active concert or participation with Dmytruk, from using

     Ravago Trade Secrets, including the design, specifications, capacity, testing, installation,

     implementation and customizing techniques and procedures concerning Ravago’s

     products and services.

5.   Preliminary injunctive relief to prevent Dmytruk’s threatened misappropriation under the

     DTSA, including restricting Dmytruk’s activities with VPA and its related entities to

     prevent disclosures of the information.

6.   Permanent injunctive relief preventing Dmytruk, his agents, employees, attorneys, and

     other persons who are in active concert or participation with Dmytruk, from using

     Ravago Trade Secrets, including the design, specifications, capacity, testing, installation,

     implementation and customizing techniques and procedures concerning Ravago’s

     products and services.

7.   Preliminary injunctive relief to prevent Dmytruk’s threatened misappropriation under the

     FTSA, including restricting Dmytruk’s activities with VPA and its related entities to

     prevent disclosures of the information.




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8.    Preliminary and permanent injunctive relief preventing Dmytruk, his agents, employees,

      attorneys, and other persons who are in active concert or participation with Dmytruk,

      from soliciting Ravago employees for eighteen months from the date of the injunction or

      such other period as the Court determines to be acceptable.

9.    Preliminary and permanent injunctive relief preventing Dmytruk, his agents, employees,

      attorneys, and other persons who are in active concert or participation with Dmytruk,

      from soliciting Ravago customers for eighteen months from the date of the injunction or

      such other period as the Court determines to be acceptable, including enforcement of the

      tolling provision in the Agreement.

10.   Judgment in favor of Ravago against Dmytruk, awarding all available relief, including

      compensatory and exemplary damages in an amount to be determined at trial, under the

      DTSA, as may be appropriate.

11.   Judgment in favor of Ravago against Dmytruk, awarding all available relief, including

      compensatory and exemplary damages and attorney’s fees in an amount to be determined

      at trial, under the Florida Uniform Trade Secrets Act, Chapter 688, Florida Statutes, as

      may be appropriate.

12.   Judgment in favor of Ravago against Dmytruk for breach of contract for violating

      Sections 3, 4, 6, 7, and 8, jointly and severally, of the Agreement, including costs and

      attorney’s fees, in an amount to be determined at trial.

13.   Judgment in favor of Ravago against Dmytruk, awarding all available relief, including

      compensatory and exemplary damages and attorney’s fees in an amount to be determined

      at trial, under the Computer Fraud and Abuse Act, 18 U.S.C. § 1030.

14.   For trial by jury for all claims so triable.



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15.        For all other relief as the Court may find just and proper.

                                                 Respectfully submitted,

                                                 /s/ James T. Shearin
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